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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION


  HYUNDAI MOTOR AMERICA CORPORATION,

                      Plaintiff,

                 v.                                            Case No. 9:20-cv-82102-WM

  EFN WEST PALM MOTOR SALES, LLC,

                      Defendant/Counterclaim
                      Plaintiff/Third-Party Plaintiff

  GENE KHAYTIN; ERNESTO REVUELTA;
  EDWARD W. NAPLETON; GEOVANNY PELAYO,
  JORGE RUIZ,

                      Defendants.


  EFN WEST PALM MOTOR SALES, LLC;
  for itself and in the name of the Department of Highway
  Safety and Motor Vehicles of the State of Florida, for its
  use and benefit,

                      Counterclaim-Plaintiff/Third-Party
                      Plaintiff.




  DEFENDANTS’ NOTICE OF FILING SECOND UPDATED PROPOSED VERDICT FORM
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         Defendants hereby give notice of filing their second updated verdict form (attached

  hereto as Exhibit 1).




  Dated: January 16, 2023
                                                             ARENTFOX SCHIFF LLP

                                                             By:     /s/ Charles A. Gallaer
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  To: All counsel of record via ECF
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   CERTIFICATE OF GOOD FAITH CONFERENCE: CONFERRED BUT UNABLE TO
               RESOLVE ISSUES PRESENTED IN THE MOTION

         Under Local Rule 7.1(a)(3)(A), I hereby certify that counsel for the movant has conferred

  with all parties or non-parties who may be affected by the relief sought in this motion in a good-

  faith effort to resolve the issues but has been unable to resolve the issues.


                                         By:     /s/     Charles A. Gallaer
                                                         Charles A. Gallaer, Esq.
